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       3. Plaintiffs Motion for Summary Judgment (Doc. 33) is DENIED.

       4. Defendant FDIC's Motion for Judgment on the Administrative

          Record (Doc. 32) is GRANTED.

       5. Defendants Ameris Bank and Ameris Bancorp, Inc.'s Motion for

          Summary Judgment (Doc. 34) is GRANTED.

       6. The Clerk of Court is directed to enter judgment in favor of

          Defendants and against Plaintiff.

       7. The Clerk is further directed to close the file.


       DONE and ORDERED in Jacksonville, Florida this \ ·:, day of

 September, 2022.


                                                BRIAN J. DAVIS
                                                United States District Judge



 Copies furnished to:

 Counsel of Record




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